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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA

VS.                                             CRIMINAL ACTION NO. 1:12cr12-KS-MTP-1

GLENN BONANO, JR.

    AMENDED ORDER PARTIALLY DENYING AND PARTIALLY GRANTING
            PETITIONER’S REQUEST FOR IN FORMA PAUPERIS
 STATUS AND REQUIRING PETITIONER TO PARTIALLY PAY THE APPEAL FEE

       Petitioner, an inmate currently incarcerated, has filed an application to proceed in forma

pauperis on this case. The Petitioner’s request for waiver of fees and costs filed January 29,

2016, and March 1, 2016 [394][396], states that he has a total monthly income of $446.00 in

gifts, for which he uses $246.00 for phone, commissary and email accounts. (See [396]).

Document [394-4] shows his monthly income as $300.00. Document [394-1] shows that he has

a balance available of $1,395.72. The fee for appealing is $505.00. U.S.C. § 1915(a) provides

access to the courts if a petitioner does not have financial resources to pay any part of the

statutory filing fee. See Williams v Estess, 681 F. 2d 946 (5th Cir. 1982); Prows v. Kastner, 842

F. 2d 138 (5th Cir. 1998). This Court notes that the Petitioner is currently incarcerated and does

not pay for room, food, or clothing. Under the circumstances, this Court in exercising its

discretion, has determined that the Petitioner has the financial resources to pay $200.00 toward

the appeal fee. Therefore, Petitioner’s application to proceed in forma pauperis is partially well-

taken and is partially denied. Accordingly, it is

       ORDERED AND ADJUDGED:

       1.      That Petitioner’s application to proceed in forma pauperis on appeal is partially

               denied and partially granted.
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 2.    That Petitioner has twenty (20) days from the entry of this order to submit to this

       Court the $200.00 appeal fee. Accompanying Petitioner’s’s payment shall be a

       written explanation that the money is being submitted as payment of the appeal

       filing fee in this case, criminal case number 1:12cr12-1, on behalf of Petitioner

       Glenn Bonano, Jr., #16588-043.

 3.    That if the $200.00 appeal fee is not received, Petitioner is hereby warned that

       this appeal may be dismissed without further written notice.

 4.    That the Petitioner is further warned that the failure to keep this Court advised of

       his current address may result in this appeal being dismissed.

 SO ORDERED on this the 18th day of March, 2016.

                              s/Keith Starrett
                              UNITED STATES DISTRICT JUDGE
